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     PROB35                      Report and Order TerminatingSupervisedRelease
    (Riv siol)                           Prior to Original Expiration Date
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                                       SOUTHERN DISTRICT OF GEORGIA
                                              DUBLIN DIVISION

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                 LTNITEDSTATESOF AMERICA

                                                            l    Crim.No. 3:02CR00005-014

                    Kelvin Leonatd Wright                   I
          On February18,2011,theabovenamedwasplacedon supervised            for aperiodof five years.He
                                                                      release
                                                       releaseandis no longerin needof supervision.It is
    hascompliedwith the rulesandregulationsof supervised
              recommended
    accordingly             that he be          f'rom
                                       discharged    supervision.




                                                                 amuelT. Akers
                                                                UnitedStatesProbationOfficer


                                             ORDEROF THE COURT

            Pursuantto the abovereport, it is orderedthat the defendantis dischargedf'rom supervisionand that the


            Datedthis                   dayofDecember,2014.




                                                                UnitedStatesDistrictJudge
